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 1               UNITED STATES DISTRICT COURT
 2               CENTRAL DISTRICT OF ILLINOIS
 3
 4
     UNITED STATES OF AMERICA,    )
 5                                )
                 Plaintiff,       )
 6                                )   Criminal No. 4:17-40049
           vs.                    )
 7                                )
     TODD B. RAUFEISEN,           )
 8                                )
                 Defendant.       )
 9
10                TRANSCRIPT OF PROCEEDINGS
              BEFORE THE HONORABLE SARA DARROW
11                    SENTENCING HEARING
               SEPTEMBER 14, 2017; 10:08 A.M.
12                  ROCK ISLAND, ILLINOIS
13
     APPEARANCES:
14
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                U.S. District Court Reporter
24              Central District of Illinois
25   Proceedings recorded by mechanical stenography;
     transcript produced by computer
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 1       (Proceedings held in open court.)
 2       THE COURT:     This is the case of the United
 3   States of America vs. Todd Raufeisen, Case Number
 4   17-40049.   Appearing on behalf of the government is
 5   AUSA Allegro.     Appearing in open court is the
 6   defendant, along with his attorney, Mr. Beckett.
 7       This matter comes before me this morning for
 8   sentencing hearing.
 9       Mr. Allegro, on behalf of the government, are
10   you ready to proceed?
11       MR. ALLEGRO:     Yes, Your Honor.
12       THE COURT:     Thank you.
13       Mr. Beckett, on behalf of Mr. Raufeisen, are
14   you ready to proceed?
15       MR. BECKETT:     Yes, Your Honor.
16       THE COURT:     Thank you.
17       Mr. Allegro, have you satisfied your
18   obligations under the Justice For All Act to notify
19   all victims in this case and provide notice of the
20   hearing and opportunity to be heard?
21       MR. ALLEGRO:     Yes, Your Honor, we have, and
22   there are at least three victims who would like to
23   allocute today.
24       THE COURT:     Okay.   Thank you.
25       Has the government had an opportunity to
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 1   review the revised presentence investigation
 2   report, and does the addendum still accurately
 3   reflect that there are no objections to its
 4   contents?
 5       MR. ALLEGRO:     Correct, Your Honor.
 6       THE COURT:     And, Mr. Beckett, have you had an
 7   opportunity to review the PSR with Mr. Raufeisen?
 8       MR. BECKETT:     Yes.
 9       THE COURT:     And it's my understanding, via
10   your sentencing memorandum, that although you
11   originally lodged an objection, that objection has
12   been withdrawn.     Is that correct?
13       MR. BECKETT:     That is correct, Your Honor.
14       THE COURT:     So, does the addendum -- other
15   than that withdrawal -- now accurately state that
16   there are no objections to the contents?
17       MR. BECKETT:     That's correct.    There are no
18   objections.
19       THE COURT:     Thank you.
20       Mr. Raufeisen, have you -- and you can remain
21   seated.     Thank you.   Have you had an opportunity to
22   read your presentence investigation report and
23   discuss it fully with your attorney?
24       THE DEFENDANT:       Yes, I have, Your Honor.
25       THE COURT:     And are you in full agreement with
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 1   his withdrawal of the objection that was lodged
 2   originally?
 3       THE DEFENDANT:    I am, Your Honor.
 4       THE COURT:    And are there any remaining
 5   objections that you have to the contents?
 6       THE DEFENDANT:    No, Your Honor.
 7       THE COURT:    Thank you.
 8       The presentence investigation report yields a
 9   total offense level of 25 with a Criminal History
10   Category of I.    The statutory provisions for
11   custody on Count I is a sentence of up to 20 years;
12   Count II, a sentence of up to 10 years.     The
13   advisory custody guideline range is 57 to 71 months
14   in prison.    The statutory range for supervised
15   release is up to three years on each count, and the
16   advisory guideline range is one to three years on
17   each count.    The guidelines make him ineligible for
18   probation.    The statutory provision allows for one
19   to five years of probation.    The statutory fine on
20   Count I is up to $250,000, and the statutory fine
21   for Count II is $3,447,213.    The advisory guideline
22   fine range is 20,000 up to the $3,447,213.        The
23   restitution in this case appears to be agreed upon
24   at the amount of $1,723,606.27.    And there is a
25   $100 special assessment on each of Count I and
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 1   Count II.
 2          Does the government concur with the Court's
 3   recitation of the statutory as well as the advisory
 4   guideline range?
 5          MR. ALLEGRO:     Yes, Your Honor.
 6          THE COURT:     And Mr. Beckett?
 7          MR. BECKETT:     Yes, Your Honor.
 8          THE COURT:     All right.     The Court will adopt
 9   the revised presentence investigation report and
10   its contents, and they'll be made part of the
11   record.
12          Mr. Allegro, does the government have any
13   evidence in aggravation that they wish to present?
14          MR. ALLEGRO:     No, Judge, just, as I indicated,
15   we have some victims who would like to allocute.
16          THE COURT:     Okay.   Let's go ahead and do that
17   now.    Which -- do you have the order?
18          MR. ALLEGRO:     Mr. Mangieri?     Right this way,
19   sir.    Speak into this microphone and make your
20   statement.    I'm not going to examine you.
21          THE COURT:     Okay.   Mr. Mangieri, could you
22   spell your name for the record, please?
23          MR. MANGIERI:     Sure.     It's Peter, P-e-t-e-r,
24   J. as in Joseph, Mangieri, M-a-n-g-i-e-r-i.
25          THE COURT:     Okay.   I just ask that you speak
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 1   directly into the microphone so we can hear you.
 2   And you may begin when you are ready.
 3       MR. MANGIERI:   Okay.    Your Honor, what I'm
 4   going to read is -- it's a two-page kind of summary
 5   of my relationship with Todd, how I got to --
 6   introduced to him, the impact on my life and what
 7   my takeaway from this was supposed to be.     And I'll
 8   start reading.   Okay?
 9       THE COURT:   Can you just pull the microphone a
10   little bit closer to you?     Thank you.
11       MR. MANGIERI:   All right.    And I kind of need
12   cheaters, but I'll do the best I can here.
13       I would like to read my thoughts and comments
14   regarding Todd Raufeisen, how he took advantage of
15   my family and a substantial amount of its capital
16   reserve.
17       Our relationship goes back to roughly late
18   September 2013 when Scott Pepper of Pepper
19   Construction called me and asked if I would be
20   interested in a Hampton Hotel project in Galesburg.
21   He noted the developer was Todd Raufeisen of RDC,
22   and by all their research, he seemed to be a
23   reputable developer.     The reason Pepper was not
24   going to get involved with Mr. Raufeisen was that
25   Pepper did not want to invest a half million
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 1   dollars into a development project and become a
 2   partner in the hotel.    That's why Scott called me
 3   and knew I was into development and a construction
 4   manager, and I would be interested in looking at
 5   both ends of this project.
 6       From there I continued -- I contacted my
 7   attorney, Troy Pudik of Elias, Meginnes & Seghetti.
 8   Troy looked at this deal, over along with
 9   Mr. Raufeisen's attorney at the time, Chris Oswald
10   from Miller, Hall & Triggs, both very reputable
11   firms in Peoria.    The vetting process took place
12   for about three weeks and -- or so, and in the end,
13   the development project passed all the smell tests.
14       So, my family invested a half-million dollars
15   from our 1420 West Pioneer Park, LLC, of which my
16   wife and I are 60 percent owners and our children
17   are 40 percent owners.    The agreement was for us to
18   extend -- extend a half-million-dollar loan of
19   which -- which what was drawn up by our attorneys,
20   and Mangieri Companies would build the Hampton
21   Hotel.   The loan was to be paid back in 36 months
22   and had a 9 percent interest paid quarterly
23   attached to it.    The loan was also to be tied to
24   1-1/2 million dollars of Mr. Raufeisen's personal
25   financial statement, of which he signed and gave us
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 1   a copy.   And I have that with me as well.
 2       At the time, his PFS was valued at roughly
 3   $8.8 million, and one asset had a note -- he had
 4   noted was a farm his wife inherited worth roughly
 5   $2.47 million, a lake property in both names worth
 6   3.25 million -- or, excuse me, $325,000, a TT trust
 7   worth $425,000 and a Barstow RDC worth 303,985.
 8       To date, we have not paid -- we have not been
 9   paid our regular interest payments, the first one
10   which was timely, the second one which was not, and
11   from there it has been nothing short of a
12   nightmare, not only to my family but my business.
13       Your Honor, my family has built its -- has
14   been built over the years on integrity, hard work,
15   trust and simple pleasures.   Now that I look back
16   over the past three years, Mr. Raufeisen had played
17   me like a fiddle -- me and my family like a fiddle,
18   never once being truthful but sounding very
19   convincing.
20       During this time, the following has occurred:
21   He said his wife was diagnosed with Stage 4 ovarian
22   cancer, of which she has since beaten completely.
23   He noted her grandmother and her mother both died
24   of ovarian cancer, and her recovery was nothing
25   short of a miracle, so God bless her.   I hope that
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 1   she doesn't ever get that deadly disease back again
 2   in her life.   I was pleased to hear of her recovery
 3   but became skeptical since it was diagnosed as
 4   Stage 4 and how quick she recovered.
 5       I began to think maybe the first few interest
 6   payments were made from my own investment when this
 7   development began to stall.   Mr. Raufeisen was very
 8   good at making you believe everything was going to
 9   be -- was going to get done, and it never did.
10       Mr. Raufeisen had me budget several other
11   projects, one in Monmouth -- or, excuse me, one in
12   Macomb and Bloomington, Illinois, of which never
13   took off.   They were also -- there were also a few
14   other hotels in Iowa and Wisconsin that were
15   promised to Mangieri Companies along the way.     We
16   were also told we would be reimbursed for our
17   estimating services.   I found myself in a very
18   difficult discussion with the landowners in
19   Bloomington and the buyer of that same land; that
20   project is currently in court.   I was to build a
21   strip center, and that is now tied up in court
22   between the owner and the purchaser of the land.
23       Mr. Raufeisen had some golf course tax credits
24   he was trying to sell, and he had repeatedly told
25   me he had multiple buyers, the biggest one being a
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 1   casino buyer and that -- and the beat went on with
 2   the tax credit play, only to find out he didn't own
 3   the golf course.   According to one source, he owned
 4   1 percent of the course.   He promised there was
 5   enough money in that deal to get me paid back.
 6       Mr. Raufeisen is apparently on the winning
 7   side of a lawsuit with the Quad City Airport
 8   Authority.   He has promised payback as soon as that
 9   is done.
10       The very last straw was back in November 2016
11   when Mr. Raufeisen sent me an email saying, and I
12   quote, "I would like you to take your debt and
13   invest it as" an equity as it -- "invest it as
14   equity in a pro-rata basis for equity in the hotel
15   and the ability to build the hotel at a
16   cost-competitive level," end quote.   I was sucked
17   into his charm for way too long to go down that
18   path.
19       As a result of my relationship with
20   Mr. Raufeisen since November 2013, these are the
21   things that have happened to me in my life:
22       My family is wondering when and how
23   Mr. Raufeisen will pay over a half-million-dollar
24   loan back with interest.   The value of the -- the
25   value of this court date is roughly $680,000 with
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 1   interest owed to my family and me.     That is
 2   $272,000 to my children and I have -- that I have
 3   taken from my children's trust.
 4       My business is closed, as of January 1st, as a
 5   result of this deal and the chasing I did to align
 6   my company with his empty promises of other work.
 7   I went from an office of 12 employees to nothing in
 8   a matter of 36 months.   This does not count the
 9   countless estimating hours we have placed in his
10   behalf to see if his development promises would
11   come to fruition.
12       At the time I wrote this, I was missing my
13   son's Missouri Valley Baseball Tournament in
14   Missouri state as a result of a different hearing.
15   This is something that is priceless to me, and no
16   one can place value on it.   If Mr. Raufeisen was an
17   honest person, I would not be here today.        Knowing
18   that I am -- knowing what I know, I feel like I
19   have supported Mr. Raufeisen and his family with
20   the half-million-dollar loan.     It should have been
21   just -- it shouldn't have just disappeared.
22       At this time, I'm demanding a repayment with
23   interest.   I seriously doubt that I will get that.
24   It is shameful for me to know Mr. Raufeisen has no
25   intentions of investing my family's half-million
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 1   dollars in his hotel development project.
 2       I honestly do not know how Mr. Raufeisen got
 3   to this point in his life or his career.    My family
 4   -- and it sounds like many others -- have been
 5   victimized by Mr. Raufeisen, and I feel he should
 6   make good on his paying back his financial debt to
 7   our family based on the agreement.   His personal
 8   financial statement was to be tied to this loan, no
 9   different than if I were a bank and would require
10   me or anyone else to make that same requirement of
11   payback.
12       I went from a proud business owner and a
13   pillar of our community of Peoria to a guy working
14   out of his basement, trying to make sure nothing
15   else happens to our family's possessions.
16       My very last comment is, Your Honor, as a
17   result of this dealing with Mr. Raufeisen, I no
18   longer have the ability to trust anyone outside of
19   my immediate family.   Maybe more than the money,
20   this is something that has been instilled in my
21   family for generations, and that, too, now is gone.
22       I apologize for the emotion.
23       But I was raised -- I'm one of 12 children,
24   and I was raised in Abingdon, Illinois, and my
25   parents were born of immigrants, and trust and
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 1   honesty and integrity and character was what we
 2   built our family on.    And in 36 months, one
 3   gentleman just absolutely ripped it out of my gut.
 4   And I'm a 60-year-old man -- well, 58-year-old man
 5   and was a proud business owner, served on many
 6   boards, and I can barely hold my head up in my
 7   community because I got nothing to show for it at
 8   the moment.
 9       Thank you.
10       THE COURT:     Thank you, Mr. Mangieri.
11       MR. ALLEGRO:     Mr. Cameron?
12       THE COURT:     Good morning.
13       MR. CAMERON:     Good morning.
14       THE COURT:     Could you please tell me your name
15   and spell it for the record?
16       MR. CAMERON:     Yes, Your Honor.   My name is
17   Duncan Cameron, D-u-n-c-a-n, middle initial J.,
18   last name Cameron, C-a-m-e-r-o-n.
19       THE COURT:     Thank you.
20       You may begin when ready.
21       MR. CAMERON:     Thank you.
22       Your Honor, this morning is a sad day, and
23   especially after hearing the testimony that I just
24   heard.   I know how stressful this whole episode has
25   been on me and now I can see on others who have
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 1   mistakenly loaned Todd Raufeisen money.
 2       In my case, I invested money with
 3   Mr. Raufeisen and his development company with the
 4   goal of building a college education fund for the
 5   benefit of my nine young grandchildren.     With that
 6   serious goal in mind, my accountant and I were very
 7   thorough in our due diligence.     We did not regard
 8   this as a whimsical investment by any means.       We
 9   carefully looked at all the information we could
10   find.
11       To convince us to go forward with an
12   investment in his company, Mr. Raufeisen presented
13   a contract to my accountant and me.     This contract
14   offered the guarantees of two very successful
15   businessmen from downstate Illinois, the Mann
16   Brothers.   Said guarantees assured me of the
17   financial performance of Mr. Raufeisen.     Little did
18   I know that Mr. Raufeisen forged the signatures of
19   the Mann Brothers.   This was not an innocent
20   mistake on Mr. Raufeisen's part.     This was an
21   intentional act that he did with the knowledge that
22   it was wrong and the knowledge that it would,
23   obviously, lead me to make an incorrect assumption.
24       In the months that passed from my initial
25   investment, Mr. Raufeisen never repaid me any
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 1   money.   In asking Raufeisen to perform under the
 2   terms of our written contract, he always offered an
 3   excuse why he didn't pay.     These excuses included
 4   blaming local banks, citing family illnesses,
 5   waiting for relatives to loan him money, needing
 6   money for other big property developments,
 7   et cetera, et cetera.   At no time, though, did
 8   Mr. Raufeisen ever tell me he couldn't pay me.        At
 9   no time did Mr. Raufeisen apologize for not living
10   up to his contractual obligations.     At no time did
11   Mr. Raufeisen admit to making any mistake,
12   intentional or accidental.
13       Judge Darrow, this is not just about the
14   money.   I presume all of Mr. Raufeisen's victims
15   have suffered the kind of stress and anxiety that I
16   have been going through since we started learning
17   of his fraudulent activity.     I've always believed
18   that, as a man of my word, I can and should be able
19   to rely upon the word of my fellow man.     In many
20   years, I have chosen to trust those who look me in
21   the eye and give me reasons to trust them.
22   Raufeisen looked me in the eye many times; and
23   instead of acting with good faith, he handed me
24   what I now know to be promissory notes with forged
25   signatures.   I pride myself on being a pretty good
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 1   judge of character, but despite that, I know now
 2   that I have been taken by Mr. Raufeisen.
 3       This has taken an emotional toll on me and my
 4   family, and no matter what kind of restitution
 5   might be available, I cannot ever get back the time
 6   and energy and effects this stress has caused.        I
 7   will certainly have to think twice if I am ever
 8   approached again about loaning someone anything, no
 9   matter how legitimate the circumstances might be.
10   This whole episode has affected me in a way I never
11   anticipated or wondered -- or wanted.
12       In summation, Mr. Raufeisen cheated me out of
13   $200,000 that I wanted to see grow for the benefit
14   of my nine grandchildren's college education.     I
15   can sure -- I can certainly appreciate how much
16   stress and anxiety Mr. Raufeisen's actions have
17   caused me and my family, and I hope you can
18   appreciate that.    That's why I am urging you, Judge
19   Darrow, to sentence Mr. Raufeisen to the maximum
20   sentence allowable.
21       Thank you.
22       THE COURT:     Thank you, Mr. Cameron.
23       MR. ALLEGRO:     Thank you, Mr. Cameron.
24       Mr. Hudgins.
25       THE COURT:     Good morning, sir.
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 1       MR. HUDGINS:     Good morning.
 2       THE COURT:     Will you please state your name
 3   and spell it for the record?
 4       MR. HUDGINS:     My name is John Joseph Hudgins.
 5   That's spelled H-u-d-g-i-n-s.
 6       THE COURT:     All right.   You may begin when
 7   ready.
 8       MR. HUDGINS:     Just one second, please.
 9       I didn't know if I could make this trip, and
10   after hearing the people before me, I can tell that
11   I'm not the only one.     I took off work yesterday to
12   drive up; it seemed like it took forever.       I do
13   appreciate the opportunity that our justice system
14   allows us to have this opportunity because I feel
15   like I need to be here.     I think other people feel
16   the same.
17       There are things that need to be said.
18   Countless hours have been spent by the Attorney
19   General's Office, the Illinois Secretary of State,
20   this Court, the probation office in Peoria, the IRS
21   to get to this point with Todd, but there are
22   things that the Court probably doesn't know fully
23   because interviews and reports can't fully convey
24   what has happened, although you are starting to get
25   a sense of that now.
                                                            19

 1       So, I'm here to try to provide some of the
 2   social context and the human element of this story
 3   because it's not just business fraud; there are
 4   people involved, and, as you can tell, there are
 5   lives involved, too.
 6       Todd and I go way back.     At points in life we
 7   were very close.     And as many of us were, we knew
 8   his parents, his sister, his brother-in-law well.
 9   We share many common memories, which that's
10   probably why more people aren't here today to speak
11   towards this.   It is hard; very hard.    When I have
12   to see his family sitting there and say what I have
13   to say, it's hard, but it needs to be said.
14       So, I entered into an agreement with Todd to
15   invest in Todd's company.     These facts that I've
16   heard before me are exactly what I've had, too.
17   And with any investment you enter knowing there is
18   a risk.   There was no idea of grandiosity.      We
19   weren't trying to hit a home run and make a
20   boatload of money.     We weren't trying to do
21   something on the sly.     This was part of an
22   investment portfolio, and it looked like it was
23   investment.
24       I had people to say me, How could you have
25   ever gotten involved with Todd?
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 1       Well, friendship -- it starts with friendship.
 2   And I did my research; I just didn't do enough.
 3   And then this is where the human element of all
 4   this comes in.    He was my friend, and I just had
 5   seen him preside as a chairman of the John Deere
 6   Classic.   I stayed in one of his hotels.    I visited
 7   his magnificent home.     And I knew -- you know, I
 8   knew of his multiple DUI convictions.     I didn't
 9   know about his house being foreclosed on.     I'm much
10   more savvy now to how all this stuff works.       But
11   that's hindsight.     And at that time, he hadn't been
12   in the news with all of his problems with the city
13   or Fyre Lake or Sherrard.     And so then when you're
14   presented with fraudulent, signed personal
15   statements, fictitious business partners who are
16   legitimate, and forged promissory notes, that's how
17   you get duped.
18       So, Todd designed his lies to be believable,
19   and he designed his fraud to fit perfectly of our
20   assumptions of him.     So, I entered into this
21   agreement to invest, but it was not an investment;
22   it was a Ponzi scheme and a way for Todd to support
23   his family and live this life-style that he has
24   chosen to live.
25       And he fabricated this deceit methodically,
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 1   willingly and with no remorse.     You've heard it
 2   from the people who have just preceded me.        I am
 3   not the only one.     It's the same story.     He put a
 4   lot of time into deceiving us.
 5       So, here's an example of it.     And I did -- I
 6   do not know any of these other people that have
 7   come up before me.     We and this other group of
 8   people who -- of close friends that he approached
 9   with this, once we smelled a rat, we went looking
10   for it.   And we called him on the fact of the
11   discrepancies in his story, and we said, "We'd like
12   to talk to the Manns.     Where do they come in here?"
13       And Todd said, "Let me arrange a conference
14   call for you."
15       This is my brother doing this.     And so my
16   brother and Todd and purportedly the Manns had a
17   conference call.     And afterwards, it just didn't
18   sit right with my brother, didn't sound kosher.
19   So, he looks into it.     A couple days go by, and it
20   just became more unsettling, and more lies and
21   fabrications come about.     So, my brother calls the
22   Manns up -- finds their number and calls them up.
23   And in this conversation, he realizes that the
24   Manns have -- don't know anything about this
25   conversation.    They're unaware of it.      They're not
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 1   partners, lo and behold, of Todd.       Their signatures
 2   have been forged.     And so -- but my brother said,
 3   "I just spoke with you two days ago."
 4       And they said, "You did not."
 5       So, you know, Todd, what did you do?        Did you
 6   hire people to be the Manns?       Did you disguise your
 7   voice -- because it was a bad connection -- and act
 8   like the Manns?     That's unbelievable --
 9   unbelievable -- to friends, to long-time friends.
10       It's just one fabrication and lie after
11   another.     And all the while, he is living the good
12   life on someone else's money.       There's much more to
13   tell.     All of this is firsthand.    You're -- you've
14   heard it.     You're going to probably hear some more,
15   but you get the picture.
16       What bothers me the most is that when we
17   confronted Todd with this, that the gig is up and
18   said, "You must quit," he continued to deny,
19   side-step and conceal what he'd done.        Worse, he
20   continued to pursue other friends of ours.        We
21   said, "Todd, you gotta quit this.       Quit going after
22   your friends.     This is over."    And yet he still
23   went after them.     He wanted to continue the Ponzi
24   scheme.     There's no remorse.    There's no shame.
25   And I think that's highly important to know.           I
                                                               23

 1   have no doubt that Todd would still be stealing and
 2   defrauding from whoever he could if we and the rest
 3   of you did not discover his lies.     I know it.
 4       And I can tell you that after knowing Todd
 5   these years that he is not sorry.     I hate to say
 6   this, but he is not sorry.     Not in the least.     He
 7   will never change because he's always been like
 8   this, this BS artist.     It went from little deceits
 9   and minor connivances to now it's just outright
10   criminal behavior.     And I can tell you that he's
11   not -- what he's not become and that is sincere and
12   changed or truthful.     At this point, he's just
13   trying to save his own skin and his criminal
14   attorney to write us letters of apology.     He would
15   have never done that.     It was said before, he's
16   never apologized.    He has never owned up to this.
17       The argument that he cannot earn money in
18   prison is without merit and, more importantly, does
19   not speak to the point today.     He makes money now,
20   I think around 144,000 a year.     He lives in a huge
21   home, and his mortgage is eating him alive.        All
22   along, he could have changed his life-style.        He
23   could have started paying us back.     No, none of
24   that.   Instead of working like the rest of us, he
25   realized his forte was fraud and deception, and
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 1   this is what he specialized in, not real estate
 2   development.    No one in their right mind would ever
 3   do business with him again.
 4       And this claim that he got caught up in the
 5   great recession, that's just a convenient excuse.
 6   His bad deeds and poor business acumen started way
 7   before that.
 8       Todd has admitted guilt, and there's no
 9   mistaking he's guilty, but most importantly to you,
10   Judge Darrow, is that he's committed fraud by wire
11   and money laundering.    Contract law is what our
12   economy is based on.    We get upset when laws are
13   broken.    They exist so we can operate truthfully,
14   and the rules of law address the systems of
15   redress.    What he did to his long-time friends is
16   another level of impropriety that you cannot
17   address, but it can certainly speak to the
18   narrative when you go to sentence him.       It speaks
19   to his complete lack of character and to the type
20   of person that he truly is -- and it's a cheat,
21   it's a liar, it's a sociopathic person and a thief,
22   and I say this with the utmost sincerity and the
23   perspective of a long-time friend.
24       THE COURT:     Thank you, Mr. Hudgins.
25       MR. HUDGINS:     If it would please the Court, my
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 1   brother, who is also a victim, has written a
 2   statement.     He lives in Boston and is unable to
 3   come.    Would I be allowed to read a statement from
 4   him?
 5          THE COURT:     You may.   What is his name, and
 6   spell it for the record.
 7          MR. HUDGINS:     His name is Jem Hudgins.   That's
 8   spelled J-e-m and H-u-d-g-i-n-s.
 9          So, this is from my brother Jem:
10          I would like to be here in person to testify,
11   but spending any more of my time and money related
12   to Todd Raufeisen doesn't seem to be the fair thing
13   to do to my family.       However, I would like to give
14   you a few thoughts on Todd.        I've spent countless
15   hours communicating with him over the past three
16   years and feel completely confident he has little
17   remorse for what he has done.        He is a pathological
18   liar and an egomaniac.       There is no doubt he's
19   going to tell the Court that he has a plan to pay
20   everybody back, just needs the time to implement
21   it, and this means spending as little time in jail
22   as possible.
23          Over the past years, Todd has presented me
24   with projects that were certain to close, deals
25   with CVS, hotel chains, local and national
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 1   developers, and they've all proved to be delay
 2   tactics and lies.     Three weeks before he pled
 3   guilty in May of this year, he told me he was
 4   confident he had the conservation easement sold on
 5   the Fyre Lake Golf Course, and he was going to earn
 6   a fee of 1.5 million and have everyone paid off, a
 7   story -- a story that he has repeated monthly for
 8   almost two years.     He simply can't separate the
 9   truth from his illusions of grandeur.
10          Now he is touting a plan to develop Starbucks
11   sites, and this will be the answer.     I can tell you
12   he's been telling me this same story for more than
13   a year and a half, even assuring me several deals
14   were signed.     If he actually did close one of them,
15   he certainly did not use the money to pay any of us
16   back.    Todd has had over seven years since he
17   started criminal activities to do the right thing
18   but has consciously chosen to continue defrauding
19   new investors.     At this point, the line between
20   truth and lying has been become indiscernible for
21   him.
22          I ask the Court not to fall for the same
23   storyline that entrapped each one of us.     It all
24   sounds good -- he's a good liar -- but it's all a
25   dream and a bad one at that.     I would ask you to
                                                         27

 1   consider the maximum sentence.   If the sentence is
 2   minimal, you have essentially given Todd an
 3   interest-free loan and a slap on the wrist, not a
 4   deterrent for him or any other criminal-to-be.
 5       I could spend pages and hours telling you the
 6   egregious stories he has spun to protect himself
 7   instead of facing the truth of his deceit, and I
 8   think his family and the Court needs to hear one in
 9   particular.   I say this because I still do not
10   believe they really know the story of his actions.
11       And I would agree to that, too.
12       In February 2015, Todd sent me an email saying
13   that he had to take his wife to the Mayo Clinic for
14   the week because she had ovarian cancer.   Over the
15   years when he needed to buy some time on deadlines,
16   these family medical emergencies were common.
17       Another good one was that his -- another
18   often-heard one was that his father was on his
19   deathbed several times.
20       Now, my brother is saying this, and this is
21   true:
22       My brother lost his wife to cancer at age 35,
23   and he had two children under the age of six at the
24   time so I am pretty sympathetic to other people's
25   situations.   What I have come to find out since
                                                              28

 1   this story is that Todd actually took his wife and
 2   son to Australia for two weeks during this time to
 3   visit his daughter who was studying abroad there.
 4   There's pictures of drinking, scuba-diving,
 5   sky-diving, amusement parks, all on social media.
 6   This grand vacation was paid for not by him.       I'm
 7   sorry to tell you, your dad was not working hard at
 8   making money.    He was working hard at deceit to
 9   take his family over there and celebrate the fact
10   that he duped someone else to giving him money.
11       All this money was for my own children's
12   college education.    If this type of behavior
13   doesn't demonstrate what type of person he really
14   is, I do not know what does.      It's all about him at
15   the cost of everyone else.      At this point, I
16   personally know dozens of other people that were --
17   he had tried to contact to entrap in his Ponzi
18   scheme.   Thankfully, they had not the foresight to
19   fall into it.    His actions need to be punished with
20   a sentence that is fitting of this deceit.
21       Thank you.
22       THE COURT:     Thank you.
23       Are you aware of any other victims that wish
24   to be heard, Mr. Allegro?
25       MR. ALLEGRO:     I am not, Your Honor.
                                                          29

 1       Are there any other persons on the list of
 2   victims entitled to restitution who wanted to
 3   speak?
 4       Can I have a second, Your Honor?
 5       THE COURT:     You may.
 6       (A pause was had in the record.)
 7       MR. ALLEGRO:     Judge, this is Mr. David
 8   Werning.
 9       THE COURT:     Thank you.   Good morning.
10       MR. WERNING:     Good morning.
11       THE COURT:     Could you state your name and
12   spell it for the record, please?
13       MR. WERNING:     David Werning, D-a-v-i-d,
14   W-e-r-n-i-n-g.
15       THE COURT:     You may begin when ready.
16       MR. WERNING:     You know, I fully understand and
17   appreciate the comments and the anger and
18   frustration that I've heard this morning.       My
19   experience with Todd is different than that, and
20   that's not meant to refute anything that's been
21   said this morning.
22       I invested in Fyre Lake Golf Course with Todd
23   Raufeisen.   All the money that I was -- that I gave
24   to Todd I strongly believe and am confident went to
25   Fyre Lake Golf Course for the purchase of the golf
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 1   course as well as the ongoing operations of the
 2   golf course.
 3       Reference has been made today about the
 4   conservation easement and the selling of the
 5   conservation easement.     It's not -- the money that
 6   I gave to Todd, I had the clear understanding that
 7   I would not receive anything back from that
 8   investment until the golf course was sold.     I was
 9   in direct communication with Todd the entire time
10   when he was trying to sell the golf course.     The
11   numerous people that he contacted I was aware of,
12   had conversations with several of them, and I
13   understand the difficulty of selling the golf
14   course.     Believe me, I became actively involved in
15   it also and tried to sell the golf course.     It
16   wasn't a simple sale of a golf course because of
17   the tie of the conservation easement which provides
18   tax deductions.     So, as much as it was a sale of a
19   golf course, it was much more of a sale of a
20   conservation easement for the tax deductions.        That
21   complicated things significantly.
22       The golf industry is not an easy one these
23   days.     More golf courses are closed than opened in
24   any given year for about the last ten years.        So, I
25   understand I probably made a bad decision in
                                                            31

 1   investing in the golf course with Todd.     I've made
 2   bad decisions on stocks that I've bought before and
 3   lost money.    So, I understand nobody likes to lose
 4   money.
 5       My understanding and my belief is that Todd
 6   did exactly what he promised to do and worked
 7   diligently on it; and if the golf course would have
 8   been sold, I would have had a return on my
 9   investment.
10       I have confidence -- continued confidence in
11   Todd, and that's demonstrated by the fact that I
12   have entered into an agreement to develop -- Todd's
13   the developer on a Starbucks property in Dubuque,
14   Iowa.    It's scheduled for completion the 6th of
15   October to turn it over to Starbucks.     Everything
16   has been handled professionally, diligently, and I
17   believe, through communication with Starbucks, that
18   Starbucks is happy with him.    If available, I
19   intend to do additional Starbucks projects with
20   Todd.    Again, that's certainly dependent on his
21   availability to continue doing work.
22       I think all of us would like to get our money
23   back.    I understand Todd misled some people, from
24   what I've heard today.    I believe everybody would
25   be extremely happy if they had their money returned
                                                           32

 1   to them.   I believe the only way that's going to
 2   happen is if Todd is gainfully employed.       He's
 3   demonstrated the ability to develop these
 4   Starbucks, and if he continues to have the ability
 5   to -- availability to do that, I think that is one
 6   of the only ways that people will get a return on
 7   their investment.
 8       So, I'm moving forward with Todd, if that's a
 9   possibility, and hopefully he will be given that
10   opportunity.
11       Thank you.
12       THE COURT:     Thank you.
13       MR. ALLEGRO:     This is Mrs. Michael Thoms.
14   Michael Thoms is one of the folks on the list.
15       THE COURT:     Good morning.
16       MS. THOMS:     Good morning.
17       THE COURT:     Will you please state your name
18   and spell it for the record?
19       MS. THOMS:     Sara Thoms, T-h-o-m-s.
20       THE COURT:     You may begin when ready.
21       MS. THOMS:     My husband is Mr. Michael Thoms,
22   and he's away today on City business; and I'm
23   afraid he does know more about the interlockings of
24   these business deals with Todd than I do, but I can
25   speak on an emotional level here.    And it's been a
                                                            33

 1   quite emotional ride with Todd over the last few
 2   years.   And what is very upsetting is he's taken
 3   advantage of many of my friends.   And it's funny;
 4   I'll be sitting at an event, and the name will come
 5   up.   And we are such a good, close community and so
 6   trusting that it just started falling together that
 7   you've been taken advantage, you've been taken
 8   advantage, you've been taken advantage, and it's
 9   been a very -- it's, it's -- it's been upsetting.
10   And it's been upsetting to my husband; I think he's
11   suffered health-wise because of Todd.   He's a very
12   trusting man.
13         We did purchase the golf course, which has
14   been a nightmare.   Everything we -- you know, we
15   buy a golf course, and we find everything is
16   overmortgaged and that -- but again, I don't know
17   the ins and outs of Michael's -- the dollar value,
18   but all I do know is it's been an emotional ride
19   for my family, my friends, this community, and it's
20   -- I find it -- it's -- I just -- words can't say
21   how upsetting and disappointed I am in this
22   gentleman here and his wife and how they paraded
23   around town saying, you know, and belonging to --
24   showing up at the golf tournaments and showing up
25   at social events with their heads held high.     And
                                                           34

 1   they -- they've screwed us all, and I'm -- that's
 2   how I feel, and I just felt I had to say that.
 3       And that's all I have to say.
 4       THE COURT:     Thank you, Miss Thoms.
 5       Do any other victims wish to be heard?
 6       MR. ALLEGRO:     That's all.
 7       THE COURT:     All right.   Thank you.
 8       Mr. Beckett, on behalf of Mr. Raufeisen, do
 9   you have any evidence in aggravation you wish to
10   present other than the letters that were attached
11   to the sentencing memorandum which I have reviewed
12   and then including the one that was filed late
13   yesterday from Ms. Barrett?
14       MR. BECKETT:     That's the mitigation we have,
15   Your Honor.
16       THE COURT:     Okay.   Thank you.
17       At this time I'll entertain commentary on
18   sentencing factors and the government's recommended
19   sentence.
20       MR. ALLEGRO:     Thank you, Your Honor.
21       As several of these victims indicated, this is
22   a very emotional case, Judge.      And this is not
23   about the money.    One of the victims -- Mr. Werning
24   who spoke -- seemed to be talking about the money,
25   but this is not -- this is not about money.      And I
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 1   think there are people -- maybe even some of the
 2   people in this courtroom who misunderstand the role
 3   of the United States Attorney's Office, the FBI,
 4   the IRS CID and the Illinois Secretary of State's
 5   Office who worked this case.     We are not a
 6   collection agency for people who were injured,
 7   defrauded, victims of thefts.     We are here to
 8   represent the people of the United States of
 9   America and see that justice is done and people are
10   held accountable for what they have done.
11       This is one of these situations where, you
12   know, it kind of puts our justice system on the
13   skyline.   Does the justice system work?    Is there
14   going to be accountability?     You know, getting
15   money back -- if we ever got any money back in this
16   case, I would be surprised.     But this is about
17   holding somebody accountable for what has been a
18   six-year-long series of lies and fraud of a good
19   cross-section of the community.
20       The Court has the PSR.     The guidelines are
21   undisputed.   The government is asking for a
22   guideline sentence anywhere within the --
23   recommending a sentence anywhere within the
24   guidelines that the Court thinks appropriate.       But
25   this being a white-collar case, we always have the
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 1   same boulder to push uphill and that is you have a
 2   gentleman here who led what appeared to be or was
 3   otherwise a law-abiding life.    And then all of a
 4   sudden, it's discovered that he is engaged in
 5   fraud.
 6       And we always get the argument or the
 7   underlying theme, the underlying feeling -- even if
 8   unspoken -- that, well, you know, this is not such
 9   a bad guy; he just went wrong, out of his
10   character, that kind of thing.
11       And so I'm going to address some of those
12   issues and some of the things that are raised in
13   the letter and in the defendant's sentencing
14   commentary that are all along those lines.
15       And one of the things that was stated in the
16   defendant's sentencing commentary, the defendant
17   said that he needed the money for the development
18   projects to succeed and to support his family.       And
19   let me talk about the family issue first.    As
20   several -- a couple of the victims anticipated me,
21   this was just maintaining a very high-living
22   life-style.    This was not supporting your family in
23   the sense of buying vegetables, fruit, bread and
24   milk for your family to eat or putting a roof over
25   their heads.    This was putting them in a very
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 1   high-level residence, allowing basically a luxury
 2   life-style so -- and that's what Mr. Raufeisen --
 3   why Mr. Raufeisen was stealing this money, to
 4   maintain this illusion that he was at the upper
 5   levels of Quad Cities society, and he was chairman
 6   of the John Deere Golf Classic and so forth and --
 7   but this was all -- this was not for survival.        You
 8   know, at any point in time if Mr. Raufeisen's
 9   business started going bad, all he had to do was
10   say, you know, a couple of different things:        Close
11   up his business and say, "You few people I owe
12   money to, I'll pay you back.     I'm going to get a
13   job."
14       My understanding -- I read somewhere, I think
15   Mr. Raufeisen has a degree in engineering from the
16   University of Illinois.     Well, my -- I believe
17   that's correct; I'm sure Mr. Beckett will correct
18   me if I'm wrong.   My understanding is engineers are
19   pretty employable people.     Mr. Raufeisen could have
20   got a job.   He could have started paying people
21   back.   He could have moved his family out of his
22   overmortgaged house into a rental or a condo -- a
23   rented condo or something like that, but he just
24   chose not to do that.     He just chose to fund this
25   family's life-style by stealing.
                                                            38

 1       And the thing that's -- the statement that he
 2   needed it for his development projects, again, he
 3   didn't -- he didn't need the money for his
 4   development projects.     He needed the money to give
 5   the illusion that he was a big-time real estate
 6   developer.     All he had to do was close up his
 7   business or declare bankruptcy or whatever the
 8   normal remedy would be if you owe more money than
 9   you can pay and, and then try to pay people back
10   later.   He didn't do any of that.    And why, we
11   don't know.     I mean, I'm not -- you know, somebody
12   called him a sociopath.     Based on the record we
13   have before us, six years of continued lies, not
14   just the initial frauds, presenting forged
15   promissory notes, you know, saying that the Manns
16   are his partners, getting the money and then, you
17   know, spending it on, on family expenses.     This is
18   just a continual set of lies.     Somebody called them
19   delaying tactics.     You know, "I'm going to the Mayo
20   Clinic," one of the victims said, "so I can't pay
21   you back."     You know, the excuses that, "The bank
22   wire didn't go through because I missed a deadline.
23   The dog ate my check," whatever.     All those kinds
24   of excuses for years, and he didn't pay these
25   people back.
                                                             39

 1       Mr. Werning talks about, you know, the money
 2   and his investment, and he thinks he'll get it back
 3   or whatever if he invested it in these other
 4   things.   Well, I mean, this was more than just
 5   about money.     This is about lying.   You know, you
 6   get on the phone and you pretend to be somebody
 7   else or you get somebody else -- persons unknown --
 8   to pretend to be your partners and speak to a
 9   victim to deceive him.     I mean, that's pretty much
10   outside the norm.
11       This is -- you know, often we talk in these
12   white-collar cases about all the reasons why this
13   case is or is not outside the heartland in terms of
14   going below the guidelines.     This case is almost
15   one like, boy, there's a lot of aggravated behavior
16   in this case that almost calls for more.      But we're
17   not asking for that; we are calling for a guideline
18   sentence because we think the Sentencing Commission
19   knows what it's doing, and this case is at least
20   squarely within the guidelines, if not higher.
21       I am not a psychologist.     I don't know why
22   Mr. Raufeisen did this.     I don't know if he's a
23   sociopath.     It's clear, though, he didn't do it
24   just because he got in a jam and the great
25   recession and his business went down, you know, had
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 1   a dip, and he had to start, you know, using money
 2   from this investment to pay off the last.     That
 3   clearly is not the reason he did it, and it clearly
 4   was not to support a -- support his family in terms
 5   of feeding them and putting a roof over their
 6   heads.
 7       The other argument -- one of the other
 8   arguments we always get -- which isn't stated, I
 9   think, explicitly in the letters or the defendant's
10   brief, but it's the kind of catchall for some of
11   the statements that are made here is that, "This is
12   out of his character.     He's not really like that."
13       Well, no, this was Mr. Raufeisen's character
14   or it became his character at some point around
15   2010 because he did this from 2010 until 2016.        And
16   like I indicated, this wasn't just one lie per
17   victim; this was just a series of lies and delays
18   and reasons why I can't pay you and so forth.        And
19   they were lies; they were not the truth.
20       You know, we get this assertion in the
21   letters, well, his community involvement and his
22   charitable activities.     Maybe I'm a cynic, but it
23   appears to me that Mr. Raufeisen was doing that
24   simply for business.     Mr. Raufeisen was a real
25   estate developer; he apparently thought his best
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 1   marketing tool was to raise his profile in the
 2   community, and he did.     He made himself, in the
 3   Quad Cities, a public figure.     That's one of the
 4   reasons we have so many people in this courtroom,
 5   we have the news media reporting on this case
 6   because he made himself a public figure.     And he
 7   raised his profile, and he did this with his
 8   charitable activities, his picture in the
 9   newspaper, John Deere Classic.     We have all kinds
10   of pictures in our investigative file of
11   Mr. Raufeisen schmoozing with, you know, the
12   hoi polloi of the Quad Cities and that, I'm sure,
13   did help his business and subsequently helped him
14   cultivate more victims, of course.     But this was
15   not because of, I would suggest, because of a
16   charitable impulse; this was part of his business.
17       Now, another argument we see in the letters
18   and in the brief is that he stole $1.7 million
19   because he was under great financial pressure.        And
20   we get that great financial duress, quote-unquote,
21   from Didier Glattard and James Derry.     We get,
22   quote, harmful business decisions.     Somebody -- I
23   think the principal.     The letter that came in this
24   morning, the school principal said he made some
25   harmful business decisions.     This wasn't harmful
                                                         42

 1   business decisions; this was a pattern of fraud,
 2   deceit and then covering up that just went on for
 3   six years.
 4       And as I believe -- I believe it was
 5   Mr. Hudgins said this would still be going on.
 6   This would still be going on if it had not been
 7   discovered by some of the victims, and lawsuits
 8   started sprouting up; and then these gentlemen
 9   became aware of it, and we opened the criminal
10   case.
11       There's this -- several statements here about
12   Mr. Raufeisen being otherwise, you know, a good
13   person and honest and that kind of thing.    I mean,
14   you heard Mr. Hudgins; he knew him a long time; he
15   calls him a BS artist.   Other people in other
16   letters who knew him a long time have said
17   otherwise.   Again, none of us know what's going on
18   inside Mr. Raufeisen's head.   All we have is the
19   fact -- or the facts and the evidence of what he
20   did; and from what he did, I don't think -- or I
21   can't find any explanation for this other than that
22   he is sociopathic in some way or for -- whatever
23   that word means clinically, he is -- he is kind of
24   a serial defrauder and liar.
25       We get the argument in the brief and we got it
                                                            43

 1   from Mr. Werning, "Well, gee, he needs to stay out
 2   of prison so he can pay us back," or, "We need to
 3   minimize the time he goes to prison so he can pay
 4   us back."
 5       Now, if this was -- Mr. Raufeisen, in a sense,
 6   is managing people's investments.     If this was a
 7   securities case, he would be barred for life from
 8   the security industry.     If he was a banker, he
 9   would be barred for life from the banking industry.
10   I looked into barring him from real estate
11   development, but I can't do that because there's no
12   license, and there's no government agency for real
13   estate development.     You're just, you know, doing
14   it on your own; otherwise, I would ask the Court or
15   I would -- I would seek or refer the information to
16   the appropriate administrative agency to seek to
17   have him barred from real estate.     He should not be
18   doing this; he should not be borrowing money from
19   people.     He should not be developing Starbucks.
20   It's just kind of certifiable -- certifiably crazy
21   to put money in Mr. Raufeisen's hands.
22       When Mr. Raufeisen -- if he goes to prison --
23   comes out of prison, he needs to start over again.
24   He needs to get a job.     He needs to provide for his
25   family in a conservative manner within his --
                                                               44

 1   within the money that he can earn honestly, not by
 2   stealing it and living an illusion.
 3         The idea that he's going to pay folks back,
 4   there's indications in the PSR that he has some
 5   assets.     Well, why aren't -- why haven't they been
 6   paid back?     He supposedly has business property
 7   that's about to go into contract, quote-unquote, I
 8   believe the PSR says.     This -- these gentlemen
 9   confronted Mr. Raufeisen a year ago, and
10   Mr. Raufeisen quickly hired Mr. Beckett who, I
11   think, has done everything possible to mitigate
12   this offense.     Why didn't he sell his business
13   property a year ago?     Why didn't he -- he
14   supposedly is in line to get money from a trust
15   fund.     I don't know -- we -- there's no other
16   information there.     I don't know who the trustee
17   is.     Supposedly it's a substantial amount of money,
18   and he has a 50 percent interest.     Why doesn't he
19   have the money?     Why doesn't the trustee give him
20   the money so he can pay these victims back?        None
21   of them have been paid back.
22         According to his cash flow, he's making
23   $144,000 -- that's not counting the small amount of
24   money his wife makes -- a year.     At the rate of
25   $144,000 a year, I think it's $12,000 a month in
                                                            45

 1   income.    Half of his income's being spent on a
 2   house payment for an underwater mortgage.     There's
 3   -- Mr. Raufeisen could have sold his house.     He'd
 4   still have some debt from it because he's
 5   underwater on his mortgage, but he could have sold
 6   his house and moved his family into something more
 7   modest, and he could have started paying these
 8   people back with part of this $144,000.
 9       He's made no effort in that regard, and
10   there's no reason to believe this line that he's
11   going to -- if he stays out of prison he's going to
12   develop all these Starbucks, and everything in the
13   world is going to be right again.    That's just,
14   just not credible.
15       These two new partners here in the Starbucks
16   ventures who wrote these letters on his behalf,
17   well, if they're business partners of his and they
18   believe in him so deeply, why don't they put
19   forward $1.7 million to pay off his debts to these
20   victims and then he can owe that to them?     And then
21   he can work it off by developing these Starbucks
22   properties.    But, you know, that's putting their
23   money where your mouth is, and we don't have any
24   money.    Not one dime has been paid back to these
25   victims even though this investigation -- known to
                                                            46

 1   Mr. Raufeisen at least -- has been going on for a
 2   year.
 3       The kind of sentences we see in these kinds of
 4   cases, Judge -- and every case is different, and I
 5   am not trying to compare apples and oranges, but, I
 6   mean, Mr. Raufeisen stole $1.7 million.     He stole
 7   it over a six-year period.     He stole it not just by
 8   one lie; he stole it by repeated, repeated,
 9   repeated lies and cover-ups and delays.     If
10   Mr. Raufeisen doesn't serve a guideline sentence,
11   what do we tell some guy who, you know, defrauded
12   the Social Security Administration of $50,000 and
13   now he -- you know, he's going to prison for some
14   period of time?   Or I had a case once with a lawyer
15   I prosecuted; and it was different because he went
16   to trial, he didn't get acceptance of
17   responsibility and all that, so I'm not trying to
18   compare cases Mr. Beckett doesn't know anything
19   about, but we've all seen these cases.     He got
20   three years; it was $470,000 in loss.     That's a
21   quarter of what we're talking about here, and it
22   was like a one-time transaction, not six repeated
23   transactions over six years.
24       You know, we have all these other fraud cases.
25   We have tellers who embezzle money from the bank
                                                           47

 1   where they work -- 5,000, 10,000, $15,000 -- people
 2   who commit Social Security fraud, people who
 3   defraud the Small Business Administration, people
 4   who defraud the Veterans Administration; we see
 5   these people pass through this courtroom.    And if
 6   he gets home confinement or a year and a day like
 7   he's asking for, how do you fit the rest of those
 8   people into that sentencing scheme?    It just --
 9   that math just does not work.
10       And the sentencing guidelines in this case
11   adequately put Mr. Raufeisen where he should be;
12   and to the extent they do anything wrong, they
13   really don't take into account the aggravated
14   nature of this offense.
15       Again, this is a public offense.    This is not
16   about money.    We're not here to collect money for
17   any victim.    I am here speaking for the citizens of
18   the United States to hold this man accountable so
19   people have confidence in the justice system, so
20   that they know when their disputes go to court that
21   justice is going to be done.    And justice would not
22   be done in this case, and people would lose faith
23   in the court system if Mr. Raufeisen was given a
24   slap on the wrist.
25       That's all, Your Honor.
                                                            48

 1       THE COURT:     Do you have a position on whether
 2   or not interest should be waived on the restitution
 3   figure?
 4       MR. ALLEGRO:     It should not be.
 5       THE COURT:     Okay.   And are you seeking a fine?
 6       MR. ALLEGRO:     I think he should be ordered to
 7   pay restitution in lieu of a fine.
 8       THE COURT:     Okay.   Thank you, Mr. Allegro.
 9       Mr. Beckett, I'll entertain commentary on
10   sentencing factors and your recommended sentence on
11   behalf of Mr. Raufeisen.
12       MR. BECKETT:     I'll just be brief.
13       THE COURT:     And I will note for the record,
14   again, that I have reviewed the sentencing
15   memorandum, both when it was filed and again this
16   morning in preparation for today's hearing as well
17   as re-reading the letters.
18       MR. BECKETT:     Thank you, Your Honor.   May it
19   please the Court, Mr. Allegro.
20       I want to make sure that the record reflects
21   what I understood the plea agreement to be and I
22   understood from what Mr. Allegro ended with was the
23   government's recommendation was within the
24   guidelines.   Am I correct?
25       THE COURT:     That's my understanding.
                                                             49

 1          MR. BECKETT:   Because I heard the government
 2   say it almost calls for more, the sentencing
 3   guidelines or higher, and that's not consistent
 4   with what my understanding of the plea agreement
 5   was.    And perhaps it was just part of argument and
 6   phrases that got away, but I want to make sure that
 7   the record reflects that was our agreement because
 8   Mr. Raufeisen did waive appeal, and he did waive
 9   collateral attack and that was really the promise
10   that we relied upon.
11          MR. ALLEGRO:   That's correct; that's the
12   recommendation we're making, a guideline sentence.
13          MR. BECKETT:   All right.   All right.   Thank
14   you.
15          We commented on the fact that I withdrew, on
16   Mr. Raufeisen's behalf after discussing with him at
17   length an objection about abuse of a position of
18   trust, and that was the right decision; and I made
19   it after I saw the victim impact statements because
20   before then I really did not get the flavor that
21   you got today.    The victims tell very telling
22   stories.    They were deceived; there's no excuse for
23   the criminal conduct that my client engaged in.         I
24   make no excuse for him, and I don't minimize the
25   effect on those victims.
                                                            50

 1          Sometimes, though, when the community talks --
 2   as Mrs. Thoms talks about -- there are
 3   embellishments.    I heard Mr. Hudgins talk about the
 4   many DUIs that the defendant has.     Well, the
 5   defendant doesn't have any DUIs.    I think he has a
 6   problem with alcohol; I think he's used alcohol as
 7   a crutch, and I would hope that would be
 8   recognized, depending on if he's on supervision or
 9   if he's in the Bureau of Prisons.     But he doesn't
10   have any DUIs.
11          And, you know, he built his house 29 years
12   ago.    That had absolutely nothing to do with what
13   happened in this case, and so the argument about
14   him supporting his family, putting his daughter
15   through college, taking care of a disabled child,
16   et cetera, as if somehow he should apologize for
17   that when he's really doing what all citizens do,
18   which is to try to make the best for their family.
19   That's what Mr. Raufeisen has done.
20          Again, then I hear him called -- that he's
21   clinically sociopathic, but there's no evidence of
22   that.    Those are nice words to throw out there.
23   It's a kind of name-calling.    And I reflect -- and
24   I agree with Mr. Allegro -- that Mr. Raufeisen has
25   no excuse for this.    He's made himself a public
                                                            51

 1   person, and now he's here at the public pillory,
 2   and everybody's throwing tomatoes, and he doesn't
 3   get to throw any tomatoes back.
 4       I think that what the victims tell us is that
 5   deterrence is an important factor in this case, not
 6   just because of this defendant but because of other
 7   people who could engage in the same sort of
 8   conduct.     That may be the factor that you rely upon
 9   most.     It's your judgment.
10       Our sentencing commentary wasn't meant to
11   minimize this and come in and say, "Home
12   confinement's plenty, Judge.     That's what you ought
13   to do."     It's to remind you that there are staged
14   results -- sentencing results within the system
15   depending on your overall thought process of all of
16   the factors.
17       A felony conviction for someone who's a public
18   person stigmatizes, stays with him forever, may
19   prevent him from engaging in his calling even if he
20   can't be debarred, as the government argues.     Home
21   confinement deprives him of his freedom; it may not
22   be enough, but it's an argument that needs to be
23   advocated for you to think about.
24       A year and a day.     Talking about cases, I just
25   saw in the paper yesterday, somebody embezzled
                                                                52

 1   $500,000 in Chicago, was in the paper, got a year
 2   and a day in federal court.       Okay?   Those are
 3   sentences that are used.       I see them over -- I'm
 4   not talking about Mr. Allegro's cases; maybe he
 5   doesn't know anything about my cases.        I see them
 6   used.     Some judges think about that because a year
 7   and a day has significance within our system.
 8       And ultimately, as we freely admit, you may
 9   think this case is too serious, and you think that
10   it is Bureau of Prisons.       We suggest to you that a
11   guideline sentence is -- doesn't have to be.           It's
12   too much.     It's too much.    It's five years.      It
13   literally is five years in the Bureau of Prisons.
14   If we didn't think it was a possibility, would I
15   really say, "And would you consider Terre Haute and
16   Pekin"?
17       So, I've got the government arguing as if
18   we're trying to minimize his conduct.        We didn't do
19   that, Judge.     The best thing Todd Raufeisen did was
20   finally come to grips with his situation.          With my
21   advice, say, Let's meet.       Now it's tell the truth,
22   tell the whole truth.     Tell everybody everything
23   you've done.     Agree with the agents, work with the
24   agents.
25       We met with the agents multiple times; that's
                                                            53

 1   what he did.   And the first step towards
 2   rehabilitation is to accept the wrongfulness of
 3   your conduct, and that's what Todd Raufeisen has
 4   done.
 5       Thank you, Your Honor.
 6       THE COURT:   Thank you, Mr. Beckett.
 7       We're going to take a ten-minute recess.       When
 8   we return, I'll give the defendant an opportunity
 9   to allocute, and then I'll pronounce sentence.
10       We'll be in recess.
11       THE CLERK:   Court is in recess.
12       (Recess at 11:23 to 11:38 a.m.)
13       THE COURT:   Mr. Beckett, Mr. Raufeisen, will
14   you please approach the podium?
15       Before I impose sentence, you have a right to
16   make a statement.    Do you wish to say anything?
17       THE DEFENDANT:    Yes, I do.
18       THE COURT:   You may.
19       THE DEFENDANT:    Your Honor, the most important
20   thing I want to do is to apologize to my victims.
21   I've written them; I have talked to them.     But it
22   was clear today that they feel that I'm not
23   sincere.   So, to Pete, Duncan, Joe, and Dave and
24   Robert in the audience, I do apologize.     I am
25   sincere.
                                                            54

 1       I have read their affidavits and letters more
 2   times than you can count.     The pain in my heart and
 3   my soul will never go away.     The word "victim" is
 4   one I cannot get out of my mind.     The victims are
 5   my friends and my family, people and relationships
 6   that I cherish even to this day.     I can assure you
 7   I never meant to hurt anybody, but clearly I have.
 8   My initial intentions were sincere, and numerous
 9   initial investors were paid off, but as deals went
10   bad, I got more desperate.     The fear of failure,
11   the fear of letting my friends and family down led
12   me to terrible decisions and resulted me in
13   standing before you today as a failure, as a
14   criminal.    I am forever sorry.
15       I have spent a large part of my life doing the
16   right things, helping people, helping those
17   without.    I hope to be a productive part of society
18   and return to the roots of my upbringing, living by
19   the principles that originally made me successful.
20   I will spend all the time I have repaying the
21   victims and healing the pain that I have caused for
22   both them and their families.
23       I want to apologize to my family.     To my dad
24   who, after the initial shock and disappointment,
25   has been at my side and one of my biggest
                                                            55

 1   supporters, I am sorry I let you down.      To my
 2   children, who represent one of the most important
 3   parts of my life, you have turned into talented
 4   young people, and I am proud of both of you.        I am
 5   glad you did as I said and not how I behaved, and I
 6   am sorry for the pain I have caused you.      To my
 7   lovely wife, I apologize for the pain and the
 8   disappointment you did not deserve nor ask for or
 9   were part of.    I thank you for sticking by my side.
10       The mistakes I've made will stick with me the
11   rest of my life as they are an Internet search
12   away.   Some of my closest friends have told me that
13   God has a plan for me; this clearly was not the
14   plan I had in mind.    I have taken full
15   responsibility for the damage I have done, and I
16   hope to get started on not only paying people back
17   but healing the faith they had in me.
18       Thank you.
19       THE COURT:    Thank you.
20       So, in imposing sentence, there's more than
21   just the statutory range.      In fact, really what
22   we're talking about here is the guideline range.
23   And I have to also consider whether or not that
24   guideline range or a sentence within it
25   appropriately addresses all of the sentencing
                                                            56

 1   factors that I must consider in the statute, which
 2   is Section 3553(a), so I'll begin with those.
 3       The first one is the seriousness of the
 4   offense.    And for six years you manipulated,
 5   deceived and stole from your friends, acquaintances
 6   and family.     You did this in a manner and the
 7   method of forging promissory notes, signing fake
 8   signatures on checks and even, it appears,
 9   pretended to be one of the other guarantors on a
10   phone call or had somebody else do so, and these
11   were all direct -- included with direct lies about
12   where the money was going.
13       These were independently -- each and every one
14   of them -- deliberate and methodical criminal
15   behavior.     They were deceitful, and they were lies,
16   and there's really no other way to spin it.        These
17   were not business mistakes; these were not poor
18   judgment; this wasn't even necessarily
19   characterized as reckless behavior.     This was
20   lying, cheating and stealing, and you did so from
21   people who trusted you, and that's why the
22   abuse-of-trust enhancement has been applied.
23       Over six years, 22 investors were defrauded
24   through these actions, and it resulted in a
25   $1.7 million loss, and those numbers alone are
                                                           57

 1   perhaps not accurately captured sufficiently by the
 2   offense conduct -- or the offense level in this
 3   case.
 4          We know that this is more than numbers, as has
 5   been discussed.    What you did was you capitalized
 6   on the trust of people who weren't strangers to you
 7   -- not even in the slightest -- and you also
 8   capitalized on the status that you had built in the
 9   community; and in that manner you were able to rob
10   Peter literally to pay James and David, rob Alex to
11   pay Chris, rob Duncan to pay Peter, and all to pay
12   you.    And really what this is is a classic Ponzi
13   scheme.    And the concern that I have about whether
14   or not the offense level accurately captures this
15   conduct is because other individuals with no
16   criminal history such as yourself could end up in
17   this same guideline range if they had only
18   conducted a one-time deal for the amount of more
19   than 1-1/2 million dollars with more than ten
20   victims and it was a one-time deal.    And this was a
21   sustained effort and deliberate effort over six
22   years to keep this lie alive involving more -- in
23   fact, more than double the threshold amount of ten
24   victims that the guidelines account for.     And each
25   and every time that you realized that you were
                                                          58

 1   never going to be able to pay back the lie that you
 2   gave to the investor when accepting their money,
 3   you robbed from somebody else -- or you stole from
 4   somebody else, I should say.   And each one of those
 5   was an independent solicitation and not a one-time
 6   deal.   And this, again, can never be characterized
 7   as a lapse in judgment or a mistake because of the
 8   sustained effort that you engaged in over this
 9   significant period of time and the number of
10   individuals and the multiple continuous steps that
11   you took to take their money, and for that reason,
12   I think that a sentence certainly within the
13   guideline range and perhaps above would be
14   warranted based on this offense conduct.
15       I also have to be mindful of the need to avoid
16   unwarranted sentencing disparities.    And this is
17   always difficult in white-collar cases when there's
18   so many different variables, both in the offense
19   conduct as well as the personal history and
20   characteristics of each defendant.    And I've
21   reviewed my own cases that I've sentenced over the
22   years as well as my awareness of others, and I need
23   to make sure that I don't deprecate the seriousness
24   of what occurred here by giving a sentence that
25   would be, as Mr. Allegro pointed out, perhaps more
                                                          59

 1   lenient than others who had been similarly situated
 2   to you but had engaged in less serious conduct.
 3       I wholeheartedly agree with the application of
 4   the three-level reduction for acceptance of
 5   responsibility because you did finally, when
 6   confronted by authorities and with the advice of
 7   counsel, admit and it appears to be admit fully
 8   your involvement in this scheme.   But you had
 9   opportunities to do that earlier, and you even had
10   opportunities before today to attempt -- even if it
11   was symbolic -- to make some payments toward
12   restitution.   And while those are not necessarily
13   aggravating factors, they are certainly not
14   mitigating, and it rings a little hollow, your
15   comments about a desire to pay these people back
16   when I haven't really seen any effort or attempts
17   for you to do so.   Much of that might be because of
18   your inability to do so.   I do recognize that even
19   though you have income coming in, you're more than
20   half a million dollars in debt, upside down on your
21   house, and have significant other legal troubles.
22       I will note, though, that it almost appears as
23   if this same theme is continuing as demonstrated
24   through some of your supporting letters about these
25   promises of still that ship coming in, about paying
                                                            60

 1   the restitution.     It's like you're still saying,
 2   "There's all these balls up in the air.     Maybe the
 3   lawsuit will be favorable.     Maybe the sale of the
 4   golf course" -- which I think has actually already
 5   occurred -- "will be like" -- but none of those
 6   balls are that Lotto ball.     It's just not the case.
 7       And what ethical, moral and honest human
 8   beings do when they fail -- which you've now
 9   recognized has occurred -- is they accept that
10   loss, and they go about reacting to it within the
11   legal ways that one can do that, even if it means
12   declaring bankruptcy, even if it means moving out
13   of a home that you built and your family's used to.
14   It's the sacrifices that come with bad
15   circumstances.     But instead, what you did is you
16   engaged on a -- as I've already stated -- long-term
17   plan and activity in deceiving others.
18       The history and characteristics are also
19   something I must and do consider in this case.
20   And, again, white-collar crime is always a little
21   bit difficult.     Everybody has a different opinion
22   about it.   Everybody -- including the point that
23   your defense attorney raised, that this is a
24   non-violent offense, and it is, but it doesn't mean
25   that it's not criminal behavior.
                                                            61

 1          I look at your personal history and
 2   characteristics, and it's hard really for me to
 3   reconcile why you're here, and it's difficult to
 4   understand.    Many of the individuals that I
 5   sentence -- in fact, most of the individuals that
 6   come through this courtroom that face me, it's
 7   unfortunate that they're here just like it's
 8   unfortunate that you're here, but there is an
 9   explanation in many of those circumstances because
10   they never had the good foundation that you had and
11   your parents provided to you.     They didn't have the
12   good childhood.     They didn't have the opportunity
13   and receipt of good education.     And they learned
14   right from wrong on the street, which is really no
15   education at all.     You learned right from wrong
16   from a stable family, and you were reckless with
17   that.    You fractured all of that.   And I also don't
18   claim to understand why, but what it seems to me,
19   based on this record, was that it was to maintain
20   appearances; it was pride; and it was a fear of
21   admitting failure; and it was a fear of being truly
22   honest about what had happened and maybe who you
23   are.    And you hid that not only from your
24   acquaintances, your investors and your family but I
25   think also from yourself, and that's the only way
                                                           62

 1   that I can think of how you were able to every day
 2   wake up and continue to engage in this fraud.     And
 3   I don't know that I would term that sociopathic,
 4   but I do think that it was, at best, deep denial.
 5       White-collar crime, too, often prevents
 6   individuals like you that had all these
 7   opportunities -- you had so much, and yet it seemed
 8   that you wanted more.   And once you started on that
 9   path, it became a house of cards of sorts, and the
10   shell game began, and now the house has tumbled
11   down around you, both professionally and
12   personally.   And like I said, with individuals who
13   come before me with less fortunate backgrounds,
14   having engaged in street crimes as opposed to
15   white-collar crimes, I can in some instances
16   understand more because of -- their motivation to
17   engage in high-risk/high-reward behavior because
18   their options and opportunities are limited.    But
19   that wasn't the case for you, yet you still made a
20   decision to engage in this high-risk/high-reward
21   behavior that was criminal.   And just because you
22   are a middle-aged man in a suit and not a youth in
23   a hoodie doesn't make your behavior any less
24   criminal in the minds of this Court and also
25   certainly as contemplated by the sentencing
                                                            63

 1   guidelines.
 2       Your involvement in your children's lives and
 3   your community involvement has been presented in
 4   your defense as a mitigating factor, and community
 5   involvement, of course, is to be lauded, and any
 6   charitable efforts that you have made are, at first
 7   glance, good, but I do agree in large part with the
 8   government's characterization of much of this
 9   community involvement is also being part of doing
10   business.     It was a collateral benefit of rubbing
11   shoulders with the very people that you needed to
12   do business with and ultimately defrauded.     And
13   while you might have also had -- and I have no
14   reason to doubt -- a dual desire to and motivation
15   to help people, it certainly had that collateral
16   benefit, and it's very difficult for me to truly
17   rely upon that as a mitigating factor.     Maybe --
18   and I'm not saying you were obliged to do this, but
19   what might abate that concern is if there were
20   examples of less public forms of community service,
21   but I don't have that before me.
22       Your involvement with your family is great and
23   makes this sentencing even more difficult and
24   bittersweet for you and for even the victims in
25   this case because they're victims, too, and it's so
                                                         64

 1   unfortunate that as a result of your conduct so
 2   much pain and so much hurt has been meted out to so
 3   many different people on both sides of this case.
 4       There are other sentencing factors, and your
 5   attorney commented -- rightfully so -- that the
 6   need for deterrence, general deterrence is usually
 7   one of the driving forces and motivations for a
 8   judge's sentence in white-collar crimes.   And part
 9   of that was hinted at or expressly stated by -- I
10   think it was Mr. Hudgins that if slaps on the wrist
11   were handed out and probation or very light
12   sentences for this kind of criminal conduct, it
13   really would amount to the justice system's
14   endorsement of zero-interest loans.   And what would
15   be the deterrent effect from anybody who wanted to
16   engage in this kind of behavior if they knew that
17   the risk that they faced really was just minimal?
18   And ripping off investors and lying and cheating
19   and stealing comes with consequences, and a
20   sentence that I impose here today needs to be a
21   sentence that promotes respect for the law.
22       And I understand the argument that's made in
23   hopes of being a mitigating factor that because you
24   had a position in the community and perhaps the
25   higher you are, the greater the fall, that that
                                                         65

 1   should be considered by the Court; that the
 2   humiliation, stress and anxiety and damage to your
 3   own reputation that your actions caused and being
 4   prosecuted in this case caused should be taken into
 5   consideration to perhaps mitigate the ultimate
 6   sentence that I impose here, but I also have to
 7   consider the stress and anxiety and humiliation
 8   that was suffered by the victims in this case that
 9   has been eloquently presented not in just the
10   statements today but also in the letters that the
11   Court has received and reviewed.   And, you know,
12   white-collar cases go significantly unreported in
13   this country because so many victims don't come
14   forward, and I'd imagine that a huge reason for
15   that is that it's not without feelings of
16   humiliation and guilt for basically being conned
17   and scammed.   Nobody wants to admit that they fell
18   for something, but there should be no guilt and
19   humiliation on behalf of the victims here today
20   because they didn't just exercise poor business
21   judgment; they were lied to.   They exercised due
22   diligence but relied on false pretenses.    And it's
23   good that they came forward because I do agree that
24   had the authorities not intervened -- because the
25   pleas of friends and family or friends at least
                                                          66

 1   were not enough to stop this conduct and this train
 2   wreck from going forward, that really what they did
 3   was save other individuals from being victimized by
 4   this Ponzi scheme.
 5       Your family, as I mentioned before -- and I'm
 6   sorry for the stress and pain that my sentence is
 7   going to impose upon them, but you did this to
 8   them, and it's your actions that are removing
 9   yourself from their life.   And I hope that what you
10   said can be taken at face value, and I do believe
11   you -- at least as you stand before me here today
12   -- that you are committed to making every effort,
13   at least if you're not financially able to
14   restoring the faith that your family had in you,
15   and it appears to be fractured but not completely
16   annihilated because they're still standing behind
17   you, not just your immediate family but also your
18   extended family; and understandably it took some
19   time to get over the shock and the feeling of
20   betrayal, but they're there and that's something
21   that a lot of people who stand at that podium when
22   I impose sentence don't have.   And you need to be
23   thankful for that every single day.
24       And hopefully the victims' faith in you, if
25   not restored, at least what's happened here can
                                                           67

 1   lead to some healing for them because, again, this
 2   is more than just a financial crime; this is a
 3   betrayal of trust and really unrecoverable damage
 4   for some people, like Mr. Mangieri losing a
 5   business, a 12-employee business, feeling like he
 6   can't hold his head up high anymore in the
 7   community which is, I'm sure, a feeling that is no
 8   -- that feeling is something that you've
 9   experienced since this whole thing went public.
10   But I do hope that the justice system and the
11   sentence that I impose here will address -- it does
12   adequately address -- and I believe it does, for
13   the reasons I've stated -- all of the sentencing
14   factors and promotes respect for the law and, by
15   promoting respect for the law, serves as an active
16   and general deterrent to other individuals so we
17   can avoid the pain and suffering that these victims
18   have gone through and your family as well.    And I
19   do hope that it promotes respect for the law in a
20   way that gives the victims some satisfaction, if
21   that's even possible at this stage, but it will at
22   least allow them to move forward; and also for you,
23   because I think that you've got a long way to go,
24   and all hope is certainly not lost.
25       While I don't think that the community
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 1   involvement and the other factors that your
 2   attorney argued on your behalf are mitigating
 3   factors significant enough for me to go below the
 4   guideline range in this sentence, I do think that
 5   they do demonstrate that you have a lot of talents
 6   and gifts and a lot of good that you can give to
 7   society.   You just happened to use those talents
 8   and gifts in a destructive manner.   And I do hope
 9   -- I guess what I'm trying to say is that I take at
10   face value that going forward your commitment is
11   positive and that you will take advantage of what
12   trust people do have left in you to build upon that
13   and restore their faith in you; and I hope that you
14   restore faith in yourself and that you stay
15   positive and that your healing begins not just when
16   you walk out through these doors, if not detained
17   today, but also through those prison doors.
18       Pursuant to the Sentencing Reform Act of 1984,
19   the defendant Todd Raufeisen is hereby committed to
20   the custody of the Bureau of Prisons for a period
21   of 72 months on each of Counts I and II to be
22   served concurrently.
23       Pursuant to the Mandatory Victim Restitution
24   Act, restitution in the amount of $1,723,606.27
25   shall be ordered payable to the 22 investors in the
                                                           69

 1   amounts listed in paragraph 136 of the presentence
 2   report.     Interest shall accrue on this restitution.
 3       Said payments shall be offset by any moneys
 4   returned to three victims who have civil suits
 5   pending against the defendant.     These three victims
 6   are Pete Mangieri in Knox County Case Number
 7   16-L-38; Core Construction, Knox County Case
 8   16-CH-89; and Alex McGehee, Rock Island County Case
 9   Number 17-L-35.
10       Upon release from confinement, you shall make
11   monthly payments of at least 50 percent of your
12   disposable income per month during the entire term
13   of supervised release or until the restitution
14   obligation is paid in full.
15       I find that you do not have the ability to pay
16   a fine, and no fine is imposed as all assets shall
17   be given toward restitution payments.
18       Mr. Beckett, did you discuss the proposed
19   conditions of supervised release with your client?
20       MR. BECKETT:     I did, Your Honor.
21       THE COURT:     Do you have any objections to any
22   of those?
23       MR. BECKETT:     We have no objection to any of
24   the conditions of supervised release.     We feel
25   they're all adequately supported by the record.
                                                           70

 1       THE COURT:    Okay.   Thank you.
 2       Following your release from custody, you shall
 3   serve a three-year term of supervised release on
 4   each of Counts I and II to be served concurrently.
 5   Within 72 hours of your release from custody from
 6   the Bureau of Prisons, you shall report in person
 7   to Probation in the district to which you are
 8   released.    While on supervised release, you shall
 9   not commit another federal, state or local crime.
10   You shall not possess a controlled substance.
11       And I find that you do not present the
12   likelihood of future substance abuse, and I'll
13   waive the drug-testing requirement pursuant to
14   statute.
15       Pursuant to law, you shall cooperate in the
16   collection of DNA as directed by Probation or the
17   Bureau of Prisons.    You shall not possess a
18   firearm, ammunition, destructive device or any
19   other dangerous weapon.
20       You shall comply with the following conditions
21   of supervised release:
22       You shall not knowingly leave the judicial
23   district without the permission of the court or
24   probation.    You shall report to probation in a
25   reasonable manner and frequency as directed by the
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 1   court or probation.   You shall follow the
 2   instructions of the probation officer as they
 3   relate to your conditions of supervision.     Any
 4   answers that you give in response to a probation
 5   officer's inquiries as they relate to your
 6   conditions of supervision must be truthful.
 7       You shall notify probation at least ten days
 8   prior or as soon as knowledge is gained to any
 9   change of residence or employment which would
10   include both the change from one position to
11   another as well as a change of workplace.
12       You shall permit a probation officer to visit
13   you at your home or any other reasonable location
14   between the hours of 6 a.m. and 11 p.m. unless
15   investigating a violation or in case of emergency.
16   You shall permit confiscation of any contraband
17   observed in plain view of probation.
18       You shall notify probation within 72 hours of
19   being arrested or questioned by a law enforcement
20   officer.
21       You shall not obtain employment at any place
22   where you will be involved in the management or
23   handling of cash, credit or any other financial
24   instruments without prior approval of the court and
25   without disclosing information regarding the
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 1   federal conviction to the employer.
 2       You shall provide probation access to any
 3   requested financial information, including both
 4   your business and personal income tax returns.
 5       Mr. Allegro, on the prior condition, is there
 6   -- Mr. Allegro?    Mr. Allegro?   Don?
 7       MR. ALLEGRO:     I'm sorry, Your Honor.
 8       THE COURT:     On the previous condition where he
 9   shall not obtain employment at any place where he
10   will be involved in the management of handling of
11   cash, credit or any other financial instruments
12   without prior approval of the court, is there any
13   objection to me including in that "or approval by
14   probation"?
15       MR. ALLEGRO:     No, Your Honor.
16       THE COURT:     Okay.
17       MR. BECKETT:     No objection.
18       THE COURT:     It's more lenient.
19       You shall provide to the probation office
20   access to any requested financial information,
21   including both your business and personal income
22   tax returns.
23       You shall not incur any new debts or open any
24   additional lines of credit in excess of $200
25   without prior approval of probation.
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 1       A special assessment of $200 is imposed,
 2   payable immediately.
 3       I'll make a recommendation that you serve your
 4   sentence in a facility as close to your family in
 5   Rock Island, Illinois, as possible.       I'll also make
 6   a recommendation that you serve your sentence in
 7   the least secure facility that Bureau of Prisons
 8   will designate you to.     I'll make a specific
 9   recommendation -- is there still the camp at Pekin?
10       MR. BECKETT:     I think it's closed.
11       THE COURT:     It's closed, yes.
12       MR. BECKETT:     I think Terre Haute has a camp.
13       THE COURT:     Do you still wish for me to
14   prioritize the Pekin recommendation?
15       MR. BECKETT:     I'm always concerned that if you
16   say it that it won't happen, but --
17       THE COURT:     I mean, because it's only an FCI,
18   there's not a camp.
19       MR. BECKETT:     I understand.     Yes, go ahead.
20       THE COURT:     Okay.   So, just so I understand,
21   would you prefer --
22       MR. BECKETT:     Terre Haute.    If you would
23   recommend Terre Haute.
24       THE COURT:     I'll make a recommendation that
25   you serve your sentence at the men's camp at Terre
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 1   Haute and, if not, at Pekin or any other facility
 2   as close to your family home consistent with the
 3   security designation from the Bureau of Prisons.
 4       Mr. Beckett, have I addressed all of your
 5   principle arguments in mitigation?
 6       MR. BECKETT:     You have.
 7       THE COURT:     And do you wish for any further
 8   elaboration as to the sentence I imposed?
 9       MR. BECKETT:     I do not.
10       THE COURT:     Okay.   At the time that you pled
11   guilty, you waived many of your rights to appeal.
12   To the extent that those rights were preserved in
13   the waivers and you wish to appeal this sentence,
14   you have 14 days from today to do so.     If you
15   timely notify your attorney of a desire to appeal,
16   he has an absolute duty to file that appeal on your
17   behalf.
18       Do you understand?
19       THE DEFENDANT:     Yes, Your Honor.
20       THE COURT:     Mr. Allegro, is there anything
21   further on behalf of the government?
22       MR. ALLEGRO:     No, Your Honor.
23       THE COURT:     Mr. Beckett, anything further on
24   behalf of Mr. Raufeisen?
25       MR. BECKETT:     No.   Are you going to have him
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 1   surrender?
 2       THE COURT:     We'll discuss that.    Is there any
 3   objection to the defendant's self-surrender?
 4       MR. ALLEGRO:     No, Your Honor.
 5       THE COURT:     Okay.   I have no reason to believe
 6   that Mr. Raufeisen has not been wholly compliant
 7   with the conditions of pretrial release since the
 8   time of his plea and, absent objection, noting no
 9   objection from the government, I will allow you to
10   self-report to the Bureau of Prisons.
11       I will release you on the same conditions of
12   bond that were previously imposed.       I want to
13   advise you, though, of a few things:       The
14   circumstances have changed now that a sentence has
15   been imposed.    If you violate any of those
16   conditions of bond, you'll be arrested and
17   immediately remanded to the custody of the marshals
18   for transport to the Bureau of Prisons to begin
19   serving your sentence.
20       And if you do not appear at the designated
21   Bureau of Prisons facility at the date and time as
22   directed, then you could face additional charges
23   for escape.
24       Do you understand?
25       THE DEFENDANT:     Yes, ma'am.
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 1       THE COURT:     I propose a self-surrender date of
 2   October 23rd at 10 a.m.    Is there any objection to
 3   that date?
 4       MR. ALLEGRO:     No, Your Honor.
 5       THE COURT:     Mr. Beckett?
 6       MR. BECKETT:     No, Your Honor.
 7       THE COURT:     All right.     Anything further on
 8   behalf of your client?
 9       MR. BECKETT:     No, Your Honor.
10       THE COURT:     All right.     Good luck to you, sir.
11   We'll be adjourned.
12       THE CLERK:     Court is adjourned.
13       (Proceedings concluded at 12:11 p.m.)
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              CERTIFICATE OF OFFICIAL REPORTER
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 4
           I, Jennifer E. Johnson, CSR, RMR, CBC, CRR,
 5   in and for the United States District Court for the
     Central District of Illinois, do hereby certify
 6   that pursuant to Section 753, Title 28, United
     States Code that the foregoing is a true and
 7   correct transcript of the stenographically reported
     proceedings held in the above-entitled matter and
 8   that the transcript page format is in conformance
     with the regulations of the Judicial Conference of
 9   the United States.
10         Dated this 24th day of October, 2017.
11
12                      /s/ Jennifer E. Johnson
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13                      CSR, RMR, CBC, CRR
                        License #084-003039
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